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                                   ORDERED.


     Dated: September 05, 2019




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  FT. MYERS DIVISION

In Re:
                                                       Chapter 11
Suntec Aluminum, LLC                                   Case No.: 9:19-bk-01888-FMD

      Debtor.
_______________________________________/

                        ORDER APPROVING APPLICATION
                   OF CAPE CORAL ACCOUNTING SERVICE, INC.
                FOR COMPENSATION AS ACCOUNTANT FOR DEBTOR

         This case came before the Court upon the APPLICATION OF CAPE CORAL

ACCOUNTING SERVICE, INC. FOR COMPENSATION AS ACCOUNTANT FOR DEBTOR

FOR THE PERIOD FROM MARCH 6, 2019 THROUGH JULY 12, 2019 (Doc. No. 69) (the

“Application”). By the Application, the Cape Coral Accounting Service, Inc. (“Cape Coral”)

requests compensation for services rendered as accountant for the Debtor in this case from

March 6, 2019 through July 12, 2019 (“Fee Application Period”). Cape Coral seeks final

approval of fees for services rendered during the Fee Application Period in the amount of

$11,915.00 and reimbursement of expenses incurred in the amount of $325.00 for a total
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allowance and administrative expense total of $12,240.00 for fees and expenses during the Fee

Application Period. From the record the Court finds that pursuant to the negative notice

procedures of L.B.R. 2002–4, parties in interest were provided with notice and an opportunity to

object within twenty-one (21) days of the date set forth on the proof of service attached to the

Application, plus an additional three days for service. No objections to the Application were filed

or raised within the prescribed time period, and the Court therefore considers the Application to

be unopposed. The Court, having considered the record and the Application, finds that the

amount awarded by this Order represents reasonable compensation for the actual and necessary

services provided by Cape Coral during the Fee Application Period and reimbursement for actual

and necessary expenses incurred during the Fee Application Period. Accordingly, it is

               ORDERED that:

       1.      The Application is APPROVED subject to the provisions of this Order.

       2.      Cape Coral is awarded, pursuant to Section 331 of the Bankruptcy Code, the

amount of $11,915.00 for compensation and reimbursement of expenses incurred in the amount

of $325.00 for a total allowance and administrative expense total of $12,240.00 as accountant for

Debtor during the Fee Application Period.

       3.      The total administrative expense awarded to Cape Coral hereunder for the Fee

Application Period is the above amount of $12,240.00, which shall be allowed and paid as an

administrative expense under Section 503(b) of the Bankruptcy Code. Therefore, the Debtor is

authorized to pay Cape Coral the total amount of $12,240.00.

Attorney Leon A. Williamson, Jr. is directed to serve a copy of this order on interested parties
and to file a proof of service within 3 days of entry of the order.




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